Case 6:19-ap-01136-SY        Doc 41 Filed 05/19/22 Entered 05/19/22 16:04:21                    Desc
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 1
 2 CHAMBERS PREPARED ORDER                                            FILED & ENTERED
 3
 4                                                                          MAY 19 2022

 5                                                                     CLERK U.S. BANKRUPTCY COURT
                                                                       Central District of California
                                                                       BY Mason      DEPUTY CLERK
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 8                             UNITED STATES BANKRUPTCY COURT

 9                                 CENTRAL DISTRICT OF CALIFORNIA

10                                        RIVERSIDE DIVISION

11 In re:                                                Case No.: 6:19-bk-15865-SY

12     ROBERT V GARCIA,                                  Chapter 7
13
14                          Debtor.

15
16                                                       Adv. No.: 6:19-ap-01136-SY
        NORMA FERNANDEZ,
17                                          Plaintiff,   ORDER TO SHOW CAUSE RE
                              v.                         DISMISSAL FOR LACK OF
18
                                                         PROSECUTION
19      ROBERT V GARCIA,
                                          Defendant.     Hearing
20                                                       Date: June 23, 2022
                                                         Time: 9:30 a.m.
21                                                       Place: Courtroom 302
22
23          The court previously issued an Order to Show Cause re Dismissal for Lack of Prosecution

24 (“OSC”) in this case on April 29, 2021 because the parties failed to file a status report and failed to
25 appear at a status conference. [Doc. 21]. The status conference was continued to the same date and
26 time as the hearing on the OSC, with a status report and written response to the OSC both due two
27 weeks prior to the hearings. Plaintiff did file a timely response to the OSC, but the parties filed a
28 very late status report one day prior to the continued status conference and hearing on the OSC.
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 1 [Doc. 25 & 27]. Plaintiff’s counsel, Daniel J Tripathi, appeared at the hearings and explained that
 2 he had hired a new law clerk and the prior status conference was mis-calendared. The court
 3 emphasized to Mr. Tripathi that he would be required to attend all future hearings, vacated the
 4 OSC, and set a pre-trial conference for September 23, 2021 at 9:30 a.m. [Doc. 28 & 29].
 5          At the pre-trial conference, the court set a two-day trial to commence on June 1, 2022 at

 6 9:30 a.m. [Doc. 34]. The court emphasized that its trial dates were scarce due to the restrictions on
 7 court hearings over the prior two years, and that the trial dates selected were the earliest ones
 8 available on the court’s schedule that would provide two consecutive days of trial. Plaintiff’s
 9 counsel represented that he would prefer an earlier date if possible, but agreed to the trial dates
10 proposed as they were the earliest available.
11          The Trial Procedures Supplement to Local Bankruptcy Rules for the Hon. Scott H. Jun

12 (“Trial Procedures”) can be found on the court website. They require that the plaintiff file all
13 exhibits comprising plaintiff’s case in chief twenty-eight days prior to the initial trial date and
14 provide a judge’s copy to chambers on the same date that the exhibits are filed. [Trial Procedures
15 at III.A]. The Trial Procedures also specify that all exhibits must be assembled in three-ring
16 binders. Id. Finally, at least four copies of all exhibits in three-ring binders must be delivered to
17 the Courtroom Deputy seven days before the trial date for use by the witnesses and parties in the
18 courtroom at trial. [Trial Procedures at IV.A]. All of the exhibits must be marked for
19 identification, separately tabbed, and contain page numbers. Id.
20          Twenty-eight days prior to commencement of the trial in this case was May 4, 2022.

21 Plaintiff has not filed exhibits or provide a judge’s copy of the exhibits. On May 19, 2022,
22 plaintiff delivered three copies of exhibits to the Courtroom Deputy. One copy is contained in
23 three-ring binders and tabbed, while the other two copies consist of un-tabbed loose paper bound
24 in multiple rubber bands. Plaintiff’s counsel has repeatedly failed to comply with the court’s Trial
25 Procedures while occupying trial dates that could and would have been assigned to other cases and
26 impaired the court’s ability to properly prepare for the upcoming trial. In light of plaintiff’s prior
27 and current failures to comply with Local Bankruptcy Rules and court procedures in timely
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 1 prosecution of this case, it now appears that there are grounds to dismiss the case for lack of
 2 prosecution.
 3          IT IS ORDERED that the trial set for June 1, 2022-June 2, 2022 is vacated.

 4          IT IS FURTHER ORDERED that plaintiff’s counsel shall appear in person on June 23,

 5 2022 at 9:30 a.m. and show cause why this case should not be dismissed for lack of prosecution.
 6 A written response is due by June 9, 2022.
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23   Date: May 19, 2022

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